FOSLER LAW GROUP, INC.
JAMES E. FOSLER
737 West 5th Avenue, Suite 205
Anchorage, AK 99501
Telephone: 907/277-1557
907/277-1657 (fax)

Attorneys for Plaintiffs



                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF ALASKA


UNITE HERE NATIONAL RETIREMENT               )   No. 3:06-cv-00239-RRB
FUND, LONDON PENSIONS FUND                   )
AUTHORITY and JEFFREY PICKETT,               )   AFFIDAVIT OF MARK SCHWARTZ IN
Derivatively on Behalf of BP P.L.C., BP      )   SUPPORT OF PLAINTIFFS’ MOTION TO
AMERICA, INC., BP OIL CO. INC. and BP        )   REMAND
EXPLORATION (ALASKA) INC.,                   )
                                             )
                             Plaintiffs,     )
                                             )
       vs.                                   )
                                             )
THE LORD JOHN BROWNE OF                      )
MADINGLEY, et al.,                           )
                                             )
                             Defendants,
                                             )
       – and –                               )
                                             )
BP P.L.C., et al.,                           )
                                             )
                       Nominal Defendants.   )
                                             )
                                             )




          Case 3:06-cv-00239-RRB Document 43 Filed 11/30/06 Page 1 of 5
Case 3:06-cv-00239-RRB Document 43 Filed 11/30/06 Page 2 of 5
Case 3:06-cv-00239-RRB Document 43 Filed 11/30/06 Page 3 of 5
                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2006, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the e-mail

addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I have

mailed the foregoing document or paper via the United States Postal Service to the non-CM/ECF

participants indicated on the attached Manual Notice List.


                                                   s/ MARY K. BLASY
                                                   MARY K. BLASY

                                                   LERACH COUGHLIN STOIA GELLER
                                                          RUDMAN & ROBBINS LLP
                                                   655 West Broadway, Suite 1900
                                                   San Diego, CA 92101
                                                   Telephone: 619/231-1058
                                                   619/231-7423 (fax)
                                                   E-mail: MaryB@lerachlaw.com




         Case 3:06-cv-00239-RRB Document 43 Filed 11/30/06 Page 4 of 5
Mailing Information for a Case 3:06-cv-00239-RRB
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

   •   Mary K. Blasy
       maryb@lerachlaw.com e_file_sd@lerachlaw.com;jillk@lerachlaw.com
   •   Jeffrey M. Feldman
       feldman@frozenlaw.com
       carper@frozenlaw.com;crowe@frozenlaw.com;summers@frozenlaw.com
   •   James Edward Fosler
       jfosler@foslerlawgroup.com
   •   Richard C. Pepperman, II
       peppermanr@sullcrom.com
   •   Steven J. Purcell
       purcells@sullcrom.com
   •   James E. Torgerson
       jim.torgerson@hellerehrman.com
       sonja.amundsen@hellerehrman.com;karen.ponsness@hellerehrman.com
   •   John L. Warden
       wardenj@sullcrom.com

Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case
(who therefore require manual noticing). You may wish to use your mouse to select and copy
this list into your word processing program in order to create notices or labels for these
recipients.

William S. Lerach
Lerach Coughlin Stoia Geller Rudman & Robbins LLP
655 West Broadway, Suite 1900
San Diego, CA 92101-3301

Darren J. Robbins
Lerach Coughlin Stoia Geller Rudman & Robbins LLP
655 West Broadway, Suite 1900
San Diego, CA 92101-3301




          Case 3:06-cv-00239-RRB Document 43 Filed 11/30/06 Page 5 of 5
